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‘Counselors at Law
991 Billerica Road, Suite 210
Chelmsford, Massachusetts 01824-4100
Attorneys Licensed in MA, NH, NY and RIX

FIRST CLASS & CERTIFIED MAIL

  

Oetober 30, 2015

Katherine L. Gaito
46 Yosemite. Valley Road
Westerly, RE G2891

RE: NOTICE OF DEFAULT
Property Addrass; 16 Yosemite Valley Road, Westerly, Ri 02894
Our File No, 13-040942

Dear SirfMadam:
THIS.1S AN ATTEMPT TO COLLECT A DEBT, ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

Please be advised that this-firm has been retainetl by Gowen Loan Servicing, LLC as servicer for Citibank, NA., a8 Trustee
for Arerican Home Morigage Assets ‘Trust 2006-3, Mortgage-Backed: Pass-Through Ceriifieates Serles 2000-0. (the
“Martgages’) to commerce. foreclosure proceedings. on the above-entitied premises for breach of the covenaris of the
mortgage. of Katherine L. Gaile to Mortgage Electronic Registration Systems, Inc. acting. solely-as. nominge for American
Brokers: Conduit dated June 6, 2006 In the original principal amount of $400,000.00 racorded In Book 1541 at Page 252. in
the Records of Land: Evidence in the Town: of Westerly, Ri, which morigage secures & ‘Note of Katherine L, Caito to--
American Brokers Conduit of same date and original principal arnount. . me we

Specifically, the aforesaid Note and Mortgage are in default as payments of principal. and/or intereat have -nat. been made in

~_gooordance with the terms:and conditions of the Note and Morigage. Your loan is in. default for the May 1, 2012 yment

’“and-allthe payments due each: month thereafler,-as provided in said Note. The:amount required to cure the defautt ag ofthe:

date of this letter is $1 ,200,823.60. .DEMAND. ig hereby mada. against you to cure this defauit by November 29,2015. In.

order to cure.this. defaull, you rust pay the total amount-of $1,209,323.60 in addition to other amounis that become due trom:

the date of this letter through the date you pay (ihe “arrearage”. On the day that you intend to pay, please contact this affice
fo request the full amount owed. on your account ag the amount due.on the day you. pay may be greater than Stated above,

. due. to interest, late charges: and other charges or credits that may vary from day ta day, or may he assessed after ihe dale -
ofthis latter, The necessary ainount must be received in cartified funds” oo . pe

      

You are-advised that-uniess: the. arrearage is received. by the Mortgages: : oe Korde &. iates, F.C... i
Road, Suite 240, Chelmsford, MA 01824-4 00 by November 29, 2015, the Morigagee may accelerate the payment of all
_ sums secured by the aforesaid mortgage. and may exercise all rights as set forth under the power of sale contained in sald
morgage, Including a foreclosure sale of the mortgaged premises, Please.be: advised that you. have the right toreinstate
_ after acceleration and. you have the right fo bring a court action to assert the: nor-existence of a default of any other defense
owhier you Rave tothe acdeleration.and the sale-of the mortgaged premises. oe ae

         

 

office within. 30 days. after recelving this notice that you dispute the. validity-of the debt oF any portion’

“Unless you notify this, days afte n de}
friereof, this office w gsume this debt is valid... within the thirty-day period, you notify this office in writing that the debt, or: ‘
~ are portion there : disnuted, we will obtain verification of he debt and Maile copy of such verification to you . Hrequested:
within’ 30 days’ of receipt of this: notice, {his office. will provide-you with the name and address of the original crealior,. te.
different from the current creditor. oe ws me Se

  
  
  

 

If you {t) did not execute the Promissory Note relating to this. mortgage; (2) ave in bankruptcy; or (3). have been |
disoharged tri hankruptey, this letter is for informational purposes.only and is tot intentied as an attempt to collect
a debt or. an act to:coflect, assess or recover all or any portion of the debt from you personally ‘ ,
Please give this your iminediate attention. .

Very truly yours;

Shana Costa
SGlas
Telephone (978) 256-1500 Pax (978) 256-7615
Website: waw,.kordeassoc.com

pedindz 7 FCO
